Case 4:94-cv-O4273-.]B.] Document 1 Filed 12/12/94 Page 1 of 2 Page|D #: 1

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DARRELL A. LINK 1 1994
c/o UNITED STATES POST OFFICE \11@5
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BELMONT, SOUTH DAKOWA 57350 run

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH DAKOTA
SOUTHERN DleSION

DARRELL A. LINK, § CIV. NO. ljzlzgzjf;jf;?;lz
PLAINT!FF, g
vs §
UNITED STATES, As A PERSON; )
§§N§§H$HCBAESWKT FUR DISTRICT § APPLICATION FOR
, As A PERSGN;
A_ THOMAS POKELA] ) PRELIMINARY INJUNCTION
AS TRUSTEE AND PERSONALLY; ) TO QUASH ORDERS
RICK YARNALL, ) (RU'E 65)
AS TRUSTEE AND PERSONALLY; ) “
BRUCE GERlNG, )
AS TRUSTEE AND PERSoNALLY; §
DEFENDANTS. §

COMES NUW PETITIONER, DARRELL A. LINK, AND PETITIoNS
THIS couRT FOR A PRELIMINARY rNJuNcTIoN AGAINST THE UNITED
STATES AND ITS BANKRUPTCY couRT FoR THE DISTRICT oF SOUTH
DAKOTA, QUASHING ANn BARRING THE BANKRUPTCY couRT AND rTs
AGENTS FROM ACTING 0N THE ORDER CONVERTING CASE FROM CHAPTER
12 TO CHAPTER 7 AND ORDER ALLOWING TRUSTEE TU GATHER AND
SALE CATTLE OF DEBTUR, coPrEs ARE HERETO ATTACHED AS
EXHIBITS A AND B, GN THE GROUNDS THAT THE BANKRuPTcY couRT
HAD No AUTHORITY AND JURISDICTION sINcE THIS PETITIONER HAD
RESCINDED HIS sIGNATuRE 0N THE APPLchTION 10 THE BANKRuPTCY
couRT AND HAD REVOKED ANY AND ALL coNsENT AND JuRrsDIchoN,

BASED ON THE PREMISE OF FRAUD AND THAT PETITIONER HAD NO

PAGE 1

Case 4:94-cv-O4273-.]B.] Document 1 Filed 12/12/94 Page 2 of 2 Page|D #: 2

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RIGHT TO APPL¥ FOR BANKRUPTCY ”PROTECTION” UNDER TITLE 11.

TH!S couRT HAS JURISDICTION ovER THIS oRIGINAL AcTIoN
uNDER 28 U.S.C. 1331, THIS MATTER INvoLvING A FEDERAL
QUESTION: wHAT THE NET EFFECT 13 wHEN THE sIGNATuRE 0N THE
APPLICATION FOR BANKRUPTCY STAY 13 REScINDED, coNsENT 13
wITHDRAwN, AND wHEN 11 U.S.C. 109(A) SPECIFICALLY BARS ANY
PERSON THAT RESIDES 0R HAS A DOMICILE, A PLACE 0F BuslNESS,
OR PROPERTY ggl§;pg 0F THE ”UNITED STATES” [AS DEFINED IN
101(51)], FROM BEING A ”DEBTOR” uNDER TITLE 11. VENuE rs
PROPERLY IN THIS couRT ercE THE Acrrons oF THE UNI?ED
STATES AND ITS BANKRUPTC¥ couRT AGENTS HAVE occuRREn wITHIN
THE JunrclAL DISTRICT 0F SOUTH DAKOTA.

THIS PETITIoN seeks A PRELIMINAR¥ INJuNCTION uNDER RULE
65 AFTER THE cOMMENcEMENT oF THE HEARING oF AN APPLICATIQN
FoR THIS PRELIMINARY 1NJUNCT10N AND FURTHER SEEK A TEMPORARY
RESTRAINING oRDER PENDIN@ TRIAL 0F THE ACTION on THE MERITS.

THE FOREGOING FACTS ARE TRUE AND coRREcT T0 THE BEST 0F
MY KNowLEDGE AND BEhIEF.

DATED THIS _§§Z DAY oF DECEMBE s 199#.

d J%J

DARRELL A. LINK

c/o UNITED STATES POST OFFICE
RR 1, Box 67

UELMONT, SouTH DAKOTA 57338

SUBSCRIBED AND AFFIRMED T0 BEFORE ME 0N THIS/¢Zgj£ DAY oF

DECEMBER, 199#.

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v --- »¢' ....... .l

JOHN HAL£ER """ §T MCOMMISSION E)<PIRES ,i:/j::_z/?§~

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